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                          UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON
                              OFFICE OF THE CLERK
                                   AT SEATTLE


WILLIAM M. MCCOOL
CLERK OF COURT
700 STEWART ST.
SEATTLE, WA 98101
June 19, 2018
To:      Counsel and pro se parties in Mutti et al v. Rushmore Loan Management Services,
         LLC et al, 2:18−cv−00884−MAT
From:    Kadya Peter, Deputy Clerk
Re:      Assignment to United States Magistrate Judge; Action required.
This case has been assigned to United States Magistrate Judge Mary Alice Theiler for all
purposes, including trial, final entry of judgment, and direct review by the Ninth Circuit
Court of Appeals. See 28 USC 636(c), Federal Rule of Civil Procedure 73, and Local
Magistrate Judge Rule 13.
Consent to a Magistrate Judge is voluntary. Any party may decline consent by signing at
the bottom and emailing this form to kadya_peter@wawd.uscourts.gov, or faxing it to
206−370−8425, or mailing to the above address. The form must be received by the court no
later than July 31, 2018. Do not electronically file this form..
Each party will be deemed to have knowingly and voluntarily consented to proceed
before the assigned Magistrate Judge, if this form is not returned by the above date.
If a party declines consent, the identity of the party declining consent will not be
communicated to any judge, and the Clerk will immediately reassign the case to a District
Judge by random selection.



      I decline consent and request the case be assigned to a District Judge



   Attorney/Party's Signature           Party Represented                 Date Signed
